       Case 6:18-cv-01228-LEK-ML Document 157 Filed 08/09/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


 KATHLEEN PARADOWSKI, individually
 and on behalf of a class of similarly situated
 individuals,
                                                  Case No. 6:18-cv-01228-LEK-DEP
                PLAINTIFFS,
                                                  NOTICE OF WITHDRAWAL OF
 V.                                               APPEARANCE

 CHAMPION PETFOODS USA, INC. and
 CHAMPION PETFOODS LP,

                DEFENDANTS.



TO:    THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that, pursuant to Local Rule 11.1, the appearance of Michelle

Lukic on behalf of plaintiff Kathleen Paradowski is hereby withdrawn in the above-referenced

action. As of August 10, 2021, Mrs. Lukic will no longer be employed at Wexler Wallace LLP.

       Plaintiffs will continue to be represented by Counsel of record from Wexler Wallace LLP,

as well as by additional counsel for Plaintiffs, and all future correspondence and papers in this

action should continue to be directed as such.



Dated: August 9, 2021                        Respectfully submitted,

                                             /s/ Michelle Lukic
                                             Kenneth A. Wexler (prohacvice)
                                             Michelle Lukic (prohacvice)
                                             WEXLER WALLACE LLP
                                             55 West Monroe St., Suite 3300
                                             Telephone:     (312) 346-2222
                                             Facsimile:     (312) 346-0022
                                             Email: kaw@wexlerwallace.com
                                                    mpl@wexlerwallace.com

                                                   1
Case 6:18-cv-01228-LEK-ML Document 157 Filed 08/09/21 Page 2 of 2




                             Mark J. Tamblyn (prohacvice)
                             WEXLER WALLACE LLP
                             333 University Avenue, Suite 200
                             Sacramento, CA 95825
                             Telephone:    (916) 565-7692
                             Facsimile:    (312) 346-0022
                             Email: mjt@wexlerwallace.com

                             Attorneys for Plaintiff




                                   2
